Case 17-61979-jrs      Doc 47    Filed 03/26/18 Entered 03/26/18 16:17:03            Desc Main
                                 Document     Page 1 of 14



                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                       )
                                             )        CHAPTER 13
SARITA TAWANA ARNOLD,                        )
                                             )        CASE NO. 17-61979-JRS
       Debtor.                               )


                 AMENDMENT TO CHAPTER 13 SCHEDULES B AND C

       COMES NOW, the above Debtor, and hereby amends her Chapter 13 Schedules A/B,

and C that are attached hereto and made a part of this amendment as follows:

         SCHEDULE A/B: Schedule B amended to reflect $1,943.51 as the net amount to be

received by Debtor for bodily injury (subject to Court approval) from personal injury claim.

       Amended to DELETE the $1,620.51 property damage award, which is to be paid to the

repair garage.

       SCHEDULES C: Amended to DELETE claim exemption under O.C.G.A. §44-13-

100(a)(3) for the property damage to motor vehicle.

       WHEREFORE, Debtor prays that this amendment be accepted and that her confirmed

Plan be administered as provided herein.

      This 26th day of March 2018.
                                                      ___/s/_______________
                                                      Richard K. Valldejuli, Jr.
                                                      Ga. State Bar # 723225
Valldejuli & Associates, LLC                          Attorney for Debtor
2199 Lenox Road, Suite A
Atlanta, Georgia 30324
(404) 636-9957
               Case 17-61979-jrs                             Doc 47            Filed 03/26/18 Entered 03/26/18 16:17:03                                     Desc Main
                                                                               Document     Page 2 of 14
 Fill in this information to identify your case and this filing:

 Debtor 1                    Sarita Tawanna Arnold
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number            17-61979-JRS                                                                                                                            Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        6640 Greenbower Lane
        Street address, if available, or other description
                                                                                      Single-family home                         Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative
                                                                                  
                                                                                      Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Atlanta                           GA        30349-0000                        Land                                       entire property?           portion you own?
        City                              State              ZIP Code                 Investment property                                 $77,900.00                 $77,900.00
                                                                                      Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                                                                  Fee Simple subject to deed to secure
                                                                                      Debtor 1 only                              debt and three (3) judgment liens
        Fulton                                                                        Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                      At least one of the debtors and another
                                                                                                                                      (see instructions)

                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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               Case 17-61979-jrs                             Doc 47         Filed 03/26/18 Entered 03/26/18 16:17:03                                              Desc Main
                                                                            Document     Page 3 of 14
 Debtor 1         Sarita Tawanna Arnold                                                                                         Case number (if known)          17-61979-JRS

        If you own or have more than one, list here:
 1.2                                                                         What is the property? Check all that apply
        2478 Jewel Street
        Street address, if available, or other description
                                                                                     Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                     Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative
                                                                                
                                                                                     Manufactured or mobile home
                                                                                                                                      Current value of the          Current value of the
        Atlanta                           GA        30344-0000                       Land                                            entire property?              portion you own?
        City                              State              ZIP Code                Investment property                                      $55,100.00                    $27,550.00
                                                                                     Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                     Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                                                                      1/2 Interest Fee Simple subject to
                                                                                     Debtor 1 only                                   Deed to Secure Debt
        Fulton                                                                       Debtor 2 only
        County                                                                       Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                     At least one of the debtors and another
                                                                                                                                          (see instructions)

                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             Mortgage loan NOT in Debtor's name - Notice Only


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                             $105,450.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1     Make:         Nissan                                                                                                         Do not deduct secured claims or exemptions. Put
                                                                        Who has an interest in the property? Check one
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Rouge                                            Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
          Year:         2016                                             Debtor 2 only                                                Current value of the         Current value of the
          Approximate mileage:                        17500              Debtor 1 and Debtor 2 only                                   entire property?             portion you own?
          Other information:                                             At least one of the debtors and another

                                                                         Check if this is community property                                  $23,000.00                    $23,000.00
                                                                           (see instructions)



  3.2     Make:         BMW                                                                                                            Do not deduct secured claims or exemptions. Put
                                                                        Who has an interest in the property? Check one
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        328i                                             Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
          Year:         1996                                             Debtor 2 only                                                Current value of the         Current value of the
          Approximate mileage:                      260000               Debtor 1 and Debtor 2 only                                   entire property?             portion you own?
          Other information:                                             At least one of the debtors and another
         Not Operating
                                                                         Check if this is community property                                    $1,500.00                     $1,500.00
                                                                           (see instructions)




Official Form 106A/B                                                             Schedule A/B: Property                                                                               page 2
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             Case 17-61979-jrs                     Doc 47            Filed 03/26/18 Entered 03/26/18 16:17:03                                     Desc Main
                                                                     Document     Page 4 of 14
 Debtor 1       Sarita Tawanna Arnold                                                                               Case number (if known)      17-61979-JRS
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>            $24,500.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    Household Furnishings and Appliances                                                                                       $4,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
     No
     Yes. Describe.....
8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes. Describe.....
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes. Describe.....
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.     Describe.....

                                    Misc. Clothing                                                                                                               $400.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.     Describe.....

                                    Misc. Costume Jewelry                                                                                                        $500.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                        page 3
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               Case 17-61979-jrs                               Doc 47               Filed 03/26/18 Entered 03/26/18 16:17:03                           Desc Main
                                                                                    Document     Page 5 of 14
 Debtor 1          Sarita Tawanna Arnold                                                                                    Case number (if known)   17-61979-JRS
13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $4,900.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
                                                                                                                               Cash                                     $22.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:

                                                          Checking &
                                              17.1.       Savings                                Delta Community CU                                                   $100.00



                                              17.2.       Single Checking                        Wells Fargo Bank                                                     $100.00

                                                          Joint Checking -
                                                          with mother, Nettie
                                              17.3.       Arnold              SunTrust Bank                                                                           $350.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
     No
     Yes. Give specific information about them...................
                                                  Name of entity:                                                            % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                                  Issuer name:




Official Form 106A/B                                                                     Schedule A/B: Property                                                           page 4
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             Case 17-61979-jrs                     Doc 47            Filed 03/26/18 Entered 03/26/18 16:17:03                             Desc Main
                                                                     Document     Page 6 of 14
 Debtor 1        Sarita Tawanna Arnold                                                                       Case number (if known)     17-61979-JRS
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                        Type of account:                   Institution name:

                                        401(k)                                                                                                         $4,800.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                           Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes. Give specific information about them...
 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
     No
     Yes. Name the insurance company of each policy and list its value.
                                          Company name:                                             Beneficiary:                           Surrender or refund
Official Form 106A/B                                                   Schedule A/B: Property                                                               page 5
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              Case 17-61979-jrs                         Doc 47            Filed 03/26/18 Entered 03/26/18 16:17:03                                               Desc Main
                                                                          Document     Page 7 of 14
 Debtor 1        Sarita Tawanna Arnold                                                                                           Case number (if known)        17-61979-JRS
                                                                                                                                                                  value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.      Describe each claim.........

                                                          Settlement of Claim for injuries sustained against a hit and
                                                          run driver on or about September 20, 2016.
                                                          Application for approval of Special Counsel of Montlick and
                                                          Associates, PC filed 1-8-18.
                                                          Offer: $11,500.00 ($1,620.51 paid for Property Damage.
                                                           Bodily Injuries         $9,879.49
                                                          Attorney's Fees:        -$3,951.79
                                                          Medical Bill for AICA
                                                          Ortho & Spine:         -$3,744.50
                                                          Case expenses:           - $259.69

                                                          Debtor to receive: $1,943.51 for injuries                                                                             $1,943.51


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................               $7,315.51


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.     Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00


Official Form 106A/B                                                           Schedule A/B: Property                                                                                 page 6
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              Case 17-61979-jrs                           Doc 47              Filed 03/26/18 Entered 03/26/18 16:17:03                                               Desc Main
                                                                              Document     Page 8 of 14
 Debtor 1         Sarita Tawanna Arnold                                                                                                 Case number (if known)   17-61979-JRS

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $105,450.00
 56. Part 2: Total vehicles, line 5                                                                           $24,500.00
 57. Part 3: Total personal and household items, line 15                                                       $4,900.00
 58. Part 4: Total financial assets, line 36                                                                   $7,315.51
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $36,715.51              Copy personal property total           $36,715.51

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $142,165.51




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 7
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               Case 17-61979-jrs                   Doc 47            Filed 03/26/18 Entered 03/26/18 16:17:03                               Desc Main
                                                                     Document     Page 9 of 14
 Fill in this information to identify your case:

 Debtor 1                Sarita Tawanna Arnold
                         First Name                         Middle Name                    Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                    Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           17-61979-JRS
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      6640 Greenbower Lane Atlanta, GA                                                                                           O.C.G.A. § 44-13-100(a)(1)
      30349 Fulton County
                                                                     $77,900.00                                 $21,500.00
      Line from Schedule A/B: 1.1                                                        100% of fair market value, up to
                                                                                             any applicable statutory limit

      Mother's residence at:                                                                                                     O.C.G.A. § 44-13-100(a)(6)
      2478 Jewel Street
                                                                     $27,550.00                                 $10,050.00
      Atlanta, GA 30344 Fulton County                                                    100% of fair market value, up to
      Line from Schedule A/B: 1.2                                                            any applicable statutory limit

      1996 BMW 328i 260000 miles                                                                                                 O.C.G.A. § 44-13-100(a)(3)
      Not Operating
                                                                      $1,500.00                                   $1,500.00
      Line from Schedule A/B: 3.2                                                        100% of fair market value, up to
                                                                                             any applicable statutory limit

      Household Furnishings and                                                                                                  O.C.G.A. § 44-13-100(a)(4)
      Appliances
                                                                      $4,000.00                                   $4,000.00
      Line from Schedule A/B: 6.1                                                        100% of fair market value, up to
                                                                                             any applicable statutory limit

      Misc. Clothing                                                                                                             O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 11.1
                                                                          $400.00                                   $400.00
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
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             Case 17-61979-jrs                     Doc 47             Filed 03/26/18 Entered 03/26/18 16:17:03                            Desc Main
                                                                     Document      Page 10 of 14
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Misc. Costume Jewelry                                                                                                     O.C.G.A. § 44-13-100(a)(5)
     Line from Schedule A/B: 12.1
                                                                         $500.00                                  $500.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                                                                                      O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 16.1
                                                                          $22.00                                   $22.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking & Savings: Delta                                                                                                 O.C.G.A. § 44-13-100(a)(6)
     Community CU
                                                                         $100.00                                  $100.00
     Line from Schedule A/B: 17.1                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Single Checking: Wells Fargo Bank                                                                                         O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.2
                                                                         $100.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Joint Checking - with mother, Nettie                                                                                      O.C.G.A. § 44-13-100(a)(6)
     Arnold: SunTrust Bank
                                                                         $350.00                                  $350.00
     Line from Schedule A/B: 17.3                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(k):                                                                                                                   O.C.G.A. § 44-13-100(a)(2.1)
     Line from Schedule A/B: 21.1
                                                                       $4,800.00                                $4,800.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Settlement of Claim for injuries                                                                                          O.C.G.A. § 44-13-100(a)(11)(D)
     sustained against a hit and run driver
                                                                       $1,943.51                                $1,943.51
     on or about September 20, 2016.                                                   100% of fair market value, up to
     Application for approval of Special                                                   any applicable statutory limit
     Counsel of Montlick and Associates,
     PC filed 1-8-18.
     Offer: $11,500.00 ($1,620.51 paid for
     Property Damage.
      Bod
     Line from Schedule A/B: 33.1


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 2 of 2
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               Case 17-61979-jrs                        Doc 47            Filed 03/26/18 Entered 03/26/18 16:17:03                                                   Desc Main
                                                                         Document      Page 11 of 14
 Fill in this information to identify your case:

 Debtor 1                   Sarita Tawanna Arnold
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           17-61979-JRS
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $             105,450.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              36,715.51

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             142,165.51

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $             125,588.99

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                              $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                $              21,311.65


                                                                                                                                     Your total liabilities $                   146,900.64


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                 $                3,795.30

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                2,850.30

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                                                                 page 1 of 2
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             Case 17-61979-jrs                     Doc 47             Filed 03/26/18 Entered 03/26/18 16:17:03                      Desc Main
                                                                     Document      Page 12 of 14
 Debtor 1      Sarita Tawanna Arnold                                                      Case number (if known) 17-61979-JRS

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $            6,027.86


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
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               Case 17-61979-jrs                   Doc 47             Filed 03/26/18 Entered 03/26/18 16:17:03                        Desc Main
                                                                     Document      Page 13 of 14




 Fill in this information to identify your case:

 Debtor 1                    Sarita Tawanna Arnold
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number              17-61979-JRS
 (if known)
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


               No

         Yes. Name of person                                                                                   Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Sarita Tawanna Arnold                                                 X
              Sarita Tawanna Arnold                                                     Signature of Debtor 2
              Signature of Debtor 1

              Date       March 23, 2018                                                 Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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Case 17-61979-jrs       Doc 47     Filed 03/26/18 Entered 03/26/18 16:17:03              Desc Main
                                  Document      Page 14 of 14



                                 CERTIFICATE OF SERVICE


        This is to certify that I have this day served all parties in the foregoing matter with a copy
of the foregoing “AMENDMENT TO SCHEDULE A/B and C ” By consent of the parties, the
following have received an electronic copy to:

                                          Nancy J. Whaley
                                     Nancy J. Whaley, 13 Trustee
                               Suite 120, 303 Peachtree Center Avenue
                                          Atlanta, GA 30303

                                   This 8th day of January, 2018.


                                               ____/s/______________________
                                               Richard K. Valldejuli, Jr.
                                               Ga. State Bar # 723225
Valldejuli & Associates, LLC                   Attorney for Debtor
2199 Lenox Road, NE, Suite A
Atlanta, Georgia 30324
(404) 636-9957
